                                                                                   DEC 2 7 2019
                                                                        CLERK, U.S. DISTRICT COURt
Telephone
                                                                            ANCHORAGE, A.K.


                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA



      (Enter   name of plaintiff in this actio
                                                            Case No.    J.' ;::/1-6/, 3,t)< -          ,tv,   8   tr\   ,n.5
                                     Plaintiff,                            (To be supplied by Court)
vs.

                                                                  COMPLAINT UNDER
                                                                 THE CIVIL RIGHTS ACT
                                                                    42 u.s.c. § 1983

                                                                       (NON-PRISONERS)



                                     Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C . § 1983. If you
assert jurisdiction under any different or additional authorities , please list them below:



B. Parties

1. Plaintiff: This complaint alleges that the civil rights of    ~:'?2L27Jvyour        /4              o.,S.


                                                          h"r~
                                                                           (pr'          nam      v

who presently resides at %                  /ja/!,JJ;e,              7:Z9o°l /AL, [f'/.J"?&-1- ,fve-,
                                                            ailing address) //JAo l/),4 / A/e:_ 7?6;z_..]
were violated by the actions of the individual(s) named below.




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2. Defendants (M ake a copy of this page and provide same information if you are naming more than 3
defendants):


Defendant No. 1,

A~sirP
                    d Air'ren
                    'and is employed as a
                                            oib~1 /ls~c .
                                          aC:~er;~cctrb1n                                     is a citizen of

         (state)                                         (defendant's government position/title)


~This defendant personally participated in causing my injury, and I want money
carnages.
OR
__The policy or custom of this officia l's government agency violates my rights , and I
seek injunctive relief (to stop or require so7~ne dos mething) .

Defendant No. 2,          B' ,/            .   My'° )h                                        is a citizen of
  /!J/4.s-k-Jf- ,    and is employed as a (         e)                                       ~~
          (state)                                        (defendant's government position/title)


..::X..
    This defendant personally participated in causing my injury, and I want money
damages .
OR
__The policy or custom of this official's government agency violates my rights , and I
seek injunctive relief (to stop or require someone do something).

Defendant No. 3,     ~cJ/} .;/::               ffef,qq 1--f?                                  is a citizen of
   ,I     l                                    (n    )           '
l/t,11.se,().       ' and' is employed as a~-12..-(n~                       /-ls ,q C
         (state)                                         (defendants government position/title)


X     This defendant personally participated in causing my injury, and I want money
damages .
OR
__ The policy or custom of this official's government agency violates my rights, and I
seek injunctive relief (to stop or require someone do something).


C. Causes of Action (You may attach additional pages al leging other causes of action an d facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B , etc . and ren ame
the claims, "Claim 4," "Cl aim 5, etc.").




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Claim 1: On or about              9- 1- £- 0) )                                             , my    civil right t~
 Fe-edott'\            ~VY)          &,v,e//            /9~d) /d/J1A0vcll
  (due process , freedom of religion , free speech, freedom of associatio
                                                                                          {41},'Shmr-,,vt)
                                                                            nd/or asse~y, freedom from crue l and
                        ~ unusual ~hme t etc. isl onl                       iolation.)
was violated by        J      ~0Y1        '-./ ~    ·      /
                                       (Name of the specific Defen ant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):




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                                                       to Claim 2.   State what




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Claim 3: On or               ----1~,----{-__7-
                                            _D _._•
                                                  -   ~ ....c:;.__ _ _ _ ,   my civil right to
  ~~




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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the sadf~cts
involved in this action , or otherwise relating to your imprisonment? _ _· Yes _/_N
                                                                               Noo..

2. If your answer is "Yes ," describe each lawsuit.

a. Lawsuit 1:

Plaintiff(s):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              ----------------------
Docket number:- - - - - - Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was fi led : ______ Date of fina l decision : _ _ _ _ __

Disposition :   - - - Dism issed        ___ Appealed           ___ Still pending

Issues Raised:· - - - - - - - - - - - - - - - - - - - - - - - - - - - -

b. Lawsuit 2:

Plaintiff(s):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court:
                              ----------------------
Docket number:- - - - - - Name of judge:_ _ _ _ _ _ _ _ _ _ _ _ _ __

Approximate date case was filed: ______ Date of final decision : - - - - - -

Disposition :   - - - Dism issed        ___ Appealed           ___ Stil l pend ing

Issues Raised :
               ----------------------------


F. Request for Relief

Plaintiff requests that this Court grant the fo llowing re liz;t)

1. Damages in the amount of $ ~
                                  ~
                                       s·o~ tlt.JO
                                         -/              v ~




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'   .
        2. Punitive damages in the amount of$




        Plaintiff demands a trial by jury.        ~es - - -




                       DECLARATION UNDER PENAL TY OF PERJURY

         The undersigned declares under penalty of perjury that s/he is the plaintiff
         in the above action, that s/he has read the above civil rights complaint and
              that the information contained in the complaint -is true and-,Gorrect.




             Original Signature of Attorney (if any)          (Date)




        Attorney's Address and Telephone Number




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